     Case 1-22-43064-ess         Doc 39    Filed 10/13/23     Entered 10/13/23 10:52:32


                                                           425 RXR Plaza, Uniondale, NY 11556
                                                                          Phone: 516-699-8902
                                                                            Fax: 516-279-6990
                                                                           www.pincuslaw.com
                                                                       Licensed in NY, NJ, PA



October 13, 2023


               RE:    Fraleg Jefferson Corp.
                      Case No. 1-22-43064-ESS

Dear Judge Stong:

There was a typographical error on the signed order entered June 30, 2023, Docket #30. The
order listed the address as 115 Jefferson Avenue, Brooklyn, NY 11238 instead of 15 Jefferson
Avenue, Brooklyn, NY 11238. The original Motion for Relief filed February 16, 2023 docketed
had the correct address listed throughout. The proposed order just seeks the scrivener’s error in
the order that was entered on June 30, 2023.


/s/ Sherri J. Smith
Sherri J. Smith, Esq.
Associate Attorney
PINCUS LAW GROUP, PLLC

CC: Francis E. Hemmings, Counsel for the Debtor (via ECF)
Office of the United States Trustee. U.S 13 Trustee (via ECF)
